                            UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

EPAC TECHNOLOGIES, INC.,                         )
                                                 )       JUDGE CRENSHAW
         Plaintiff/Counter-Defendant,            )
                                                 )       Case No. 3:12-CV-00463
v.                                               )
                                                 )       JURY DEMAND
THOMAS NELSON, INC.,                             )
                                                 )
         Defendant/Counter-Plaintiff.            )

               THOMAS NELSON’S MOTION FOR SUMMARY JUDGMENT

         The Court previously dismissed Counts II, III, and VI of the seven-count Amended

Complaint filed by EPAC Technologies, Inc. (Doc. 196.) Given certain undisputed facts, and for

the reasons given in Thomas Nelson, Inc.’s memorandum in support of this motion, Thomas

Nelson moves the Court pursuant to Federal Rule of Civil Procedure 56 to enter a summary

judgment:

1.       Dismissing Counts IV, V, and VII;

2.       Dismissing the claim in Count I that Thomas Nelson breached a contractual non-disclosure

         obligation to EPAC; and

3.       Holding that EPAC may not seek (a) unjust enrichment damages, (b) punitive damages, or

         (c) lost profits (or, if the Court should find that lost profits are potentially available to EPAC

         under any count, that EPAC may not seek lost profits other than those associated with one-

         color softbound books EPAC can prove it would have sold Thomas Nelson under the

         parties’ Master Services Agreement through March 21, 2012).




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                                           Respectfully submitted,

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                                 CERTIFICATE OF SERVICE


       I hereby certify that service of the foregoing document was made upon the following via
the Electronic Case Filing System to the following:

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on this 1st day of June, 2018.

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